
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-04-100-CV



SHANNA WOOD	APPELLANT



V.



NORTH TEXAS ROOFING 							 &nbsp;APPELLEE

CONTRACTORS ASSOCIATION	



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FROM THE 153RD
 
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).



PER CURIAM	

PANEL D:	MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DELIVERED: October 28, 2004	 &nbsp;



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




